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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 FOX NEWS NETWORK, LLC
 1211 Avenue of the Americas
 New York, NY 10036,

 And
                                               Civil Action No. 20-cv-149
 FOX MEDIA LLC,
 10201 West Pico Boulevard
 Los Angeles, CA 90067,

       Plaintiffs,

 v.

 XOFNEWS.COM AND
 FOXNEWS-ENTERTAINMENT.COM,
 Internet domain names,

 and

 JOHN DOE,

       Defendants.


                                  VERIFIED COMPLAINT

       Plaintiffs Fox News Network, LLC and Fox Media LLC (collectively, the “Plaintiffs” or

“Fox News”), by counsel, allege as follows for their Verified Complaint against the Defendants

xofnews.com and foxnews-entertainment.com (hereinafter the “Defendant Domain Names”) and

Defendant John Doe seeking the disabling of a network of Internet scam websites purportedly to

be Fox News.

                                   NATURE OF THE SUIT

       1.      This is an action for in rem cybersquatting under the Federal Anti-Cybersquatting

Consumer Protection Act, 15 U.S.C. § 1125(d), against the Defendant Domain Names and for
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trademark counterfeiting and infringement under the Lanham Act, 15 U.S.C. § 1114(1), and

copyright infringement under the Copyright Act, 17 U.S.C. § 101 et seq., against Defendant John

Doe.

       2.      Since its launch in 1996, consumers around the world have come to associate the

FOX NEWS name as one of the most influential and recognized news brands in the world. A

recent independent survey conducted by Brand Keys, ranked Fox News as the “most trusted”

American television news brand in the United States.

       3.      Plaintiffs’ invaluable rights in the famous and distinctive FOX NEWS trademarks

have been deliberately infringed through the bad faith registration and use of the Defendant

Domain Names, and through the unauthorized use of the FOX NEWS trademarks by Defendant

John Doe to display a number of counterfeit FOX NEWS trademarks on fraudulent websites to

sell dietary supplements via the Internet, including to residents of this Court’s district.

                                             PARTIES

       4.      Plaintiff Fox News Network, LLC is a limited liability company organized and

existing under the laws of Delaware with a principal place of business at 1211 Avenue of the

Americas, New York, NY 10036. Fox News Network, LLC is a licensee of the FOX NEWS

trademarks.

       5.      Plaintiff Fox Media LLC is a limited liability company organized under the laws

of Delaware having an address of 10201 West Pico Boulevard, Los Angeles, CA 90067. Fox

Media LLC is the owner of the FOX NEWS trademarks.

       6.      Defendant Domain Name xofnews.com is an Internet domain name which,

according to records in the WHOIS database of domain name registrations, was registered on




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October 3, 2019 by “WHOISGUARD PROTECTED”. A copy of the domain name registration

record for Defendant Domain Name One is attached as Exhibit A.

       7.     Defendant Domain Name foxnews-entertainment.com is an Internet domain name

which, according to records in the WHOIS database of domain name registrations, was

registered on October 5, 2019 by “Domain Protection Services Inc.” A copy of the domain name

registration record for Defendant Domain Name Two is attached as Exhibit B.

       8.     Defendant John Doe is a person or persons of unknown identity who uses the

Defendant Domain Names, and a multitude of other domain names (hereinafter the “Doe

Domain Names”) identified on Exhibit C, to operate a large network of fraudulent websites

displaying counterfeit FOX NEWS marks to sell variations of the same dietary supplement.

                         JURISDICTION, VENUE AND JOINDER

       9.     This is a civil action for federal cybersquatting in violation of the Anti-

Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d), for trademark counterfeiting and

infringement under the Lanham Act, 15 U.S.C. § 1114(1), and for copyright infringement under

the Copyright Act, 17 U.S.C. § 101 et seq.

       10.    This Court has original jurisdiction under 15 U.S.C. § 1121(a) and 28 U.S.C. §§

1331 and 1338(a).

       11.    This Court has in rem jurisdiction over the Defendant Domain Names pursuant to

15 U.S.C. § 1125(d)(2)(A).         In rem jurisdiction is appropriate under 15 U.S.C. §

1125(d)(2)(A)(i)(I) because the listed registrant of each of the Defendant Domain Names is a

privacy service and therefore Plaintiffs cannot find a person who would have been a defendant in

a civil action under 15 U.S.C. § 1125(d)(1)(A).




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       12.     Pursuant to 15 U.S.C. § 1125(d)(2)(A)(i)(II)(aa), Plaintiffs will give notice of the

violations of their rights and intent to proceed in rem, to the postal and e-mail addresses set forth

in the registration records for the Defendant Domain Names.

       13.     The Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d)(3) and

(4), states that the in rem action, jurisdiction, and remedies created by the statute are “in addition

to any other civil action or remedy otherwise applicable” and “in addition to any other

jurisdiction that otherwise exists, whether in rem or in personam.”

       14.     Plaintiffs’ claims against John Doe for counterfeiting, trademark infringement,

and copyright infringement are based on John Doe’s misuse of FOX NEWS trademarks and

Plaintiffs’ copyright protected works to operate fraudulent websites in order to sell products,

John Doe’s sale and shipment of such products to consumers in the District, and, on information

and belief, John Doe’s use of instrumentalities in this district to maintain, host, and display

fraudulent websites bearing Plaintiffs’ intellectual property and to sell dietary supplements.

       15.     Venue is proper in this District pursuant to 15 U.S.C. § 1125(d)(2)(C) and 28

U.S.C. § 1391(b)(2) in that the .com domain name registry operator, VeriSign Inc., is located in

this District and pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events

giving rise to the claims occurred in this District.

       16.     Joinder of Defendant John Doe and the Defendant Domain Names is proper under

Fed. R. Civ. P. 20(a)(2) in that the claims set forth herein arise out of the same series of

transactions and the same questions of law are common to all of the Defendants.

                                      FOX NEWS’ RIGHTS

       17.     Fox News is one of the world’s preeminent news organizations. It is engaged in

the business of creating and producing original television programming and content, gathering




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news and information, and telecasting, publicly performing, publicly displaying, licensing and

otherwise distributing its copyrighted and trademarked programming and content.

         18.   Since October 1996, Plaintiffs have operated a 24-hour all-encompassing news

service dedicated to delivering breaking news as well as political and business news. A top five

cable network, Fox News has been the most watched news channel in the country for more than

ten years and, according to Brand Keys, is the most trusted television news source in the country.

         19.   Fox News is available in over 80 million U.S. households. In 2019, Fox News

averaged 2.5 million viewers per night, making it the most-watched channel on basic cable.

         20.   As part of their news services, Fox News operates an Internet website located at

www.FoxNews.com.

         21.   Additionally, Fox News promotes its products and services throughout the United

States and the world under its FOX NEWS and FOX NEWS CHANNEL formative marks

including word marks and design marks (collectively the “FOX NEWS Marks”). This includes

Fox News’ use of the FOX NEWS word mark in its domain name FoxNews.com, as well as Fox

News’ use of the FOX NEWS Marks throughout its website in association with the FOX NEWS

brand.

         22.   Fox News uses the FOX NEWS Marks to indicate the source of its high-quality

news and information related products and services, and consumers have come to distinguish

Fox News’ goods and services as a result of the use and widespread promotion of the FOX

NEWS Marks.

         23.   The FOX NEWS Marks are entitled to common law trademark rights.

         24.   The FOX NEWS Marks are famous and/or distinctive throughout the United

States and the world in connection with Plaintiffs’ products.




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      25.      The FOX NEWS word marks are registered around the world including on the

Principal Trademark Register of the U.S. Patent and Trademark Office.             Following is a

representative sampling of Fox News’ U.S. federal trademark registrations for the FOX NEWS

word marks.

 REG. NO.         MARK          REG. DATE                     REGISTERED SERVICES
2469849       FOXNEWS.COM       July 17, 2001       providing on-line information in the fields
                                                    of news and entertainment via a global
                                                    communications network
2708769       FOX NEWS          Apr. 22, 2003       television broadcasting services
2697433       FOX NEWS          Mar. 18, 2003       entertainment services in the nature of
                                                    television news programming
5170377       FOX NEWS          Mar. 28, 2017       downloadable mobile software
                                                    applications for mobile communication
                                                    devices for use in distribution of digital
                                                    video, video files, video, and multimedia
                                                    content; software for receiving, streaming,
                                                    searching, accessing and reviewing
                                                    audiovisual and multimedia content via the
                                                    internet, mobile digital electronic devices,
                                                    communications networks and wireless
                                                    telecommunications networks
5170376       FOX NEWS          Mar. 28, 2017       downloadable mobile software
              RADIO                                 applications for mobile communication
                                                    devices for use in distribution of audio and
                                                    audiovisual files and multimedia content;
                                                    software for receiving, streaming,
                                                    searching, accessing and reviewing
                                                    audiovisual and multimedia content via the
                                                    internet, mobile digital electronic devices,
                                                    communications networks and wireless
                                                    telecommunications networks
5153634       FOX NEWS       Mar. 07, 2017          radio broadcasting services
              HEADLINES 24/7
3396098       FOX NEWS       Mar. 11, 2008          radio transmission services
              TALK
3628862       FOX NEWS       May 26, 2009           radio programming; entertainment services
              TALK                                  in the nature of production and distribution
                                                    of radio programs; on-line information in
                                                    the field of news via the internet
2172925       FOX NEWS          Jul. 14, 1998       broadcasting services, namely, a television
              CHANNEL                               news channel
2154239       FOX NEWS                 Apr.         entertainment services in the nature of


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              CHANNEL             28, 1998              television programing
2083588       FOX NEWS            Jul. 29, 1997         entertainment services in the nature of an
              SUNDAY                                    on-going television news program


       26.     A true and correct copy of U.S. trademark registrations owned by Fox News for

the FOX NEWS word marks is attached hereto as Exhibit D.

       27.     Fox News has also registered several stylized design marks with the United States

Patent and Trademark Office for use in connection with its FOX NEWS branded products and

services.    Following is a representative sampling of Fox News’ U.S. federal trademark

registrations for the FOX NEWS design marks.

   REG. NO.         MARK        REG. DATE                        REGISTERED SERVICES
   2159608                    May 19, 1998            broadcasting services, namely, a television
                                                      news channel


   2162714                    Jun. 02, 1998           entertainment services in the nature of
                                                      television programming



   2697434                    Mar. 18, 2003           television broadcasting services


   2697436                    Mar. 18, 2003           entertainment services in the nature of
                                                      television news programming

   2882856                    Sep. 07, 2004           jackets; wind resistant jackets; t-shirts; sport
                                                      shirts; sweatshirts; hats; caps; neckties


   3336682                    Nov. 13, 2007           radio programming; entertainment services in
                                                      the nature of production and distribution of
                                                      radio programs; on-line information in the field
                                                      of news via the internet
   3336683                    Nov. 13, 2007           radio transmission services




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   5185099                    Apr. 18, 2017        downloadable mobile software applications for
                                                   mobile communication devices for use in
                                                   distribution of digital video, video files, video,
                                                   and multimedia content; software for
                                                   receiving, streaming, searching, accessing and
                                                   reviewing audiovisual and multimedia content
                                                   via the internet, mobile digital electronic
                                                   devices, communications networks and
                                                   wireless telecommunications networks


       28.    A true and correct copy of U.S. trademark registrations owned by Fox News for

the FOX NEWS design marks is attached hereto as Exhibit E.

       29.    Several of Plaintiffs’ registered FOX NEWS Marks have obtained incontestable

status pursuant to 15 U.S.C. § 1065.

       30.    Plaintiffs’ incontestable federal registrations for the FOX NEWS Marks are

conclusive evidence of the validity of the marks, of Fox News’ ownership of the marks, and of

Fox News’ exclusive right to use the marks in U.S. commerce.

                            DEFENDANTS’ UNLAWFUL ACTS

       31.    This action centers around an intricate online scam perpetrated by John Doe

designed to collect consumer financial information and sell dietary supplements. The scam

involves the use of a variety of websites that purport to be associated with Fox News. Upon

arriving at these websites, users see a fake Fox News article about a miracle dietary supplement

that will help them lose weight. The sites then allow consumers to access a page containing

payment fields where the user is prompted to enter their credit card information to buy the

advertised supplement. The Defendant Domain Names and Doe Domain Names are all being

used in association with variations of these fraudulent websites — i.e. they are being used by

John Doe to display counterfeit Fox News trademarks to falsely associate the “news articles”

promoting the supplement with Fox News and then redirect consumers to the payment page.



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       32.     The domain name foxnews-entertainment.com was registered on October 5, 2019

through the domain name registrar Namecheap, Inc. in a name which is hidden by a proxy

service, which on information and belief, is an alias for Defendant John Doe.

       33.     The domain name merely consists of the FOX NEWS mark with “-entertainment”

appended to the end of the mark.

       34.     The domain name xofnews.com was registered on October 3, 2019, through the

domain name registrar Namecheap, Inc. in a name which is hidden by a proxy service, which on

information and belief, is an alias for Defendant John Doe.

       35.     The domain name merely consists of a typo, “xofnews,” of the FOX NEWS mark.

       36.     After registration, Defendant Domain Names were configured to display websites

replicating the genuine Fox News website available at www.FoxNews.com and displaying Fox

News’ copyright protected content and the FOX NEWS Marks.

       37.     Specifically, the Defendant Domain Names were configured in an almost

identical manner — they displayed counterfeit versions of the FOX NEWS Marks in association

with fraudulent websites selling variations of a dietary supplement.

       38.     The majority of the Doe Domain Names listed on Exhibit C were registered in

2018 and 2019 through several domain name registrars, primarily through the use of privacy

services to conceal the identity of the true owner of the domain names.

       39.     After registration, the Doe Domain Names were all configured in an almost

identical manner to the Defendant Domain Names — they display counterfeit versions of the

FOX NEWS Marks in association with websites providing fraudulent news and entertainment

services in association with the sale of dietary supplements.




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        40.         Fox News’ investigator visited the Defendant Domain Names and the Doe

Domain Names and purchased such products while in this District and later received the products

in this District.

        41.         On information and belief, the Defendant Domain Names and Doe Domain

Names are owned and/or operated by Defendant John Doe.

        42.         Following are two screen captures of the website displayed at the Defendant

Domain Names:

                                         foxnews-entertainment.com




                                               xofnews.com




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      43.    The screen captures shown above contain the FOX NEWS Marks of at least U.S.

Reg. Nos. 2708769, 2697433, 5170377, 2172925, 2154239, 2159608, and 2162714.

      44.    Defendant John Doe is also using the Doe Domain Names, configured in the same

manner as Defendant Domain Names, to display fraudulent websites containing copyright

protected content and counterfeit FOX NEWS Marks to sell dietary supplement products.

Following are several representative screen captures of the content found on the Doe Domain

Names:

                              Example 1: healthtrends-24.com




                            Example 2: optimalhealth2day.com




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 Example 3: https://www.patienthelp.org/weight-loss/ultra-fast-keto-boost-shark-tank-episode-
                                  diet-pill-fox-news.html




       45.     The screen captures shown above contains the FOX NEWS Marks of at least U.S.

Reg. Nos. 2708769, 2697433, 5170377, 2172925, 2154239, 2159608, and 2162714.

       46.     On information and belief, Defendant John Doe is using the counterfeit FOX

NEWS Marks on the fraudulent sites displayed at the Doe Domain Names, to promote and sell

dietary supplement products including to residents located in this District.

       47.     Fox News’ investigator visited multiple websites displayed at the Doe Domain

Names, while located in this District, and purchased products from the websites.

       48.     Defendant John Doe completed the sale through the Doe Domain Names by

shipping the products to this District.

                                       COUNT ONE:
          (Violation of the Federal Anti-Cybersquatting Consumer Protection Act)

       49.     Fox News repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.

       50.     Fox News’ federally registered FOX NEWS Marks are famous and/or distinctive

and were famous and/or distinctive prior to the registration of the Defendant Domain Names.


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       51.       The Defendant Domain Names fully incorporate the FOX NEWS mark and/or

confusingly similar variations thereof.

       52.       The use of the FOX NEWS Marks within the Defendant Domain Names is

without authorization from Fox News.

       53.       The Defendant Domain Names do not and cannot reflect the legal name of the

registrant of the Domain Names.

       54.       The registrant of the Defendant Domain Names has not engaged in bona fide

noncommercial or fair use of the FOX NEWS Marks in a website accessible under the

Domain Names.

       55.       The websites displayed by the registrant of the Defendant Domain Names are

likely to be confused with Fox News’ legitimate online location at www.FoxNews.com.

       56.       Upon information and belief, the registrant of the Defendant Domain Names

registered the Domain Names with intent to divert consumers seeking to access genuine FOX

NEWS products online away from Fox News’ online location at www.FoxNews.com, for

commercial gain, by creating a likelihood of confusion as to the source, sponsorship, affiliation

or endorsement of the Defendant Domain Names and the sites displayed through use of the

Defendant Domain Names.

       57.       The images used on the websites associated with the Defendant Domain Names

are copied from Fox News’ online location at www.FoxNews.com without Plaintiffs’

authorization.

       58.       The goods offered for sale via the Defendant Domain Names are promoted

through fraudulent websites, bearing counterfeit FOX NEWS marks, and designed to mislead the

public that the products are endorsed by Fox News.




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       59.     Upon information and belief, the registrant of the Defendant Domain Names

provided material and misleading false contact information when applying for and maintaining

the registrations of the Defendant Domain Names, in that the person or entity identified as the

registrant of the Defendant Domain Names is concealing their identity from the public WHOIS

records for the Defendant Domain Names.

       60.     Fox News, despite its due diligence, has been unable to find a person who would

have been a defendant in a civil action under 15 U.S.C. § 1125(d)(1)(A).

       61.     The aforesaid acts by the registrant of the Defendant Domain Names constitutes

registration, maintenance, or use of domain names that are confusingly similar to Plaintiffs’ FOX

NEWS Marks, with bad faith intent to profit therefrom.

       62.     The aforesaid acts by the registrant of the Defendant Domain Names constitutes

unlawful cyberpiracy in violation of the Anti-Cybersquatting Consumer Protection Act, 15

U.S.C. § 1125(d)(1).

       63.     The aforesaid acts have caused, and are causing, great and irreparable harm to

Fox News and the public. The harm to Fox News includes harm to the value and goodwill

associated with the FOX NEWS Marks that money cannot compensate. Unless permanently

restrained and enjoined by this Court, said irreparable harm will continue.

       64.     Pursuant to 15 U.S.C. § 1125(d)(2)(D)(i), Fox News is entitled to an order

transferring the Defendant Domain Names to Fox News.

                                        COUNT TWO:
                                  (Trademark Counterfeiting)

       65.     Fox News repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.




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       66.     Defendant John Doe is intentionally and knowingly using counterfeit versions of

the FOX NEWS Marks in connection with fraudulent websites that are being used for the sale,

offering for sale and/or distribution of diet supplements.

       67.     Defendant John Doe has used spurious designations that are identical with, or

substantially indistinguishable from, the FOX NEWS Marks on goods and/or services covered

by the federal registrations for such marks including, for example, fraudulent websites designed

to replicate Fox News’ legitimate news and entertainment websites.

       68.     Defendant John Doe has used these spurious designations knowing they are

counterfeit in connection with the advertisement, promotion, sale, offering for sale and

distribution of goods and/or services.

       69.     Defendant John Doe’s use of the counterfeit FOX NEWS Marks on fraudulent

websites to advertise, promote, offer for sale, distribute and sell goods and/or services was, and

is, without the consent of Fox News.

       70.     Defendant John Doe’s unauthorized use of the counterfeit FOX NEWS Marks on

fraudulent websites in connection with advertisement, promotion, sale, offering for sale and

distribution of goods and/or services constitutes use of the FOX NEWS Marks in commerce.

       71.     Defendant John Doe’s unauthorized use of the FOX NEWS Marks as set forth

above is likely to: (a) cause confusion, mistake and deception; (b) cause the public to believe that

the products and/or services sold by Defendant John Doe are authorized, sponsored or approved

by Fox News or that Defendant John Doe is affiliated, connected or associated with or in some

way related to Fox News; and (c) result in Defendant John Doe unfairly benefiting from Fox

News’ advertising and promotion and profiting from the reputation of Fox News and the FOX

NEWS Marks all to the substantial and irreparable injury of the public and Fox News.




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       72.     Defendant John Doe’s aforesaid acts constitute willful trademark counterfeiting in

violation of Sections 32 and 34 of the Lanham Act, 15 U.S.C. § 1114 and 1116(d)(1).

                                       COUNT THREE:
                                   (Trademark Infringement)

       73.     Fox News repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.

       74.     Defendant John Doe is using the FOX NEWS Marks in commerce and has no

valid rights in the FOX NEWS Marks.

       75.     Defendant John Doe has actual and/or constructive notice, pursuant to Section 22

of the Lanham Act, 15 U.S.C. § 1072, of the existence of Fox News’ superior rights in its FOX

NEWS Marks by reason of the existence of Fox News’ aforementioned federal trademark rights.

       76.     Use of the FOX NEWS Marks by Defendant John Doe is without the permission

or authorization of Fox News.

       77.     The aforesaid acts by Defendant John Doe have caused and/or are likely to cause

confusion, mistake and/or deception among consumers and the public, leading the public falsely

to believe that the products advertised and sold by Defendant John Doe are those of, are

sponsored or approved by, or are in some way connected with Fox News.

       78.     The aforesaid acts by Defendant John Doe constitutes direct infringement of Fox

News’ trademark rights in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114.

       79.     The aforesaid acts have caused, and are causing, great and irreparable harm to

Fox News and the public. The harm to Fox News includes harm to the value and goodwill

associated with the FOX NEWS Marks that money cannot compensate. Unless permanently

restrained and enjoined by this Court, said irreparable harm will continue.




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                                        COUNT FOUR:
                                    (Copyright Infringement)

       80.     Fox News repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.

       81.     Fox News is the author and owner of certain copyright protected images and

websites consisting of creative and original expressions (the “Fox News Works”).

       82.     The Fox News Works include without limitation the Fox News masthead, logos,

menu structure, color schemes, and other materials and copyright protected content and software

code published online at Fox News’ official website www.FoxNews.com, as well as in

advertisements for legitimate Fox News products.

       83.     These materials are covered by U.S. Copyright Registration No. TX0005647280.

A true and correct copy of U.S. Copyright Registration No. TX0005647280 is attached hereto as

Exhibit F.

       84.     At all times relevant hereto, Fox News Network LLC has been and still is the

owner and proprietor of all right, title, and interest in and to the Fox News Works.

       85.     The Fox News Works contain creative material wholly original to Fox News and

are copyrightable subject matter under the copyright laws of the United States.

       86.     Defendant John Doe has infringed and continues to infringe Fox News’

copyrights by copying, distributing, altering, and/or displaying the Fox News Works through the

Defendant Domain Names and the Doe Domain Names.

       87.     Such copying, distributing, altering, and/or displaying of the Fox News Works

was done by Defendant John Doe without the consent, approval, or license of Fox News.

       88.     The foregoing actions of Defendant John Doe have been knowing, deliberate,

willful, and in utter disregard of Fox News’ rights.



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         89.   The above acts by Defendant John Doe violate Fox News’ exclusive rights under

§ 106 of the Copyright Act, 17 U.S.C. § 106, and constitute willful infringement of Fox News’

copyrights under § 501 of the Copyright Act, 17 U.S.C. § 501.

                                    PRAYER FOR RELIEF

         WHEREFORE, Fox News respectfully requests of this Court:

         1.    That judgment be entered in favor of Fox News on its claims of cybersquatting,

trademark counterfeiting and infringement, and copyright infringement.

         2.    That the Court order the Defendant Domain Names be transferred to Fox News

through transfer by VeriSign, Inc. of the Defendant Domain Names from the current domain

name registrar to Fox News’ domain name registrar of choice and by such registrar’s change of

the registrant to Fox News.

         3.    That any other domain names registered by the registrant of the Defendant

Domain Names that resemble or include the FOX NEWS Marks be transferred to Fox News.

         4.    That Defendant John Doe be required to pay Fox News statutory damages

pursuant to 15 U.S.C. § 1117(c) and 17 U.S.C. § 504(c);

         5.    That actual, compensatory, and statutory damages, be awarded against Defendant

John Doe;

         6.    That Defendant John Doe be required to disgorge all revenues earned from the

operation of fraudulent websites containing counterfeit FOX NEWS Marks and/or Fox News

Works;

         7.    That the Court permanently enjoin Defendant John Doe, its officers, directors,

principals, agents, servants, employees, successors and assigns, and all those in active concert or

participation with them, jointly and severally, from:




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       a.      Copying, distributing, altering, displaying, hosting, selling and/or promoting the

Fox News Works;

       b.      Using any copy or colorable imitation of the FOX NEWS Marks in connection

with the promotion, advertisement, display, sale, offering for sale, manufacture, printing,

importation, production, circulation, or distribution of any product or service, in such fashion as

to relate or connect such product in any way to Fox News, or to any goods sold, manufactured,

sponsored, approved by, or connected with Fox News;

       c.      Using Facebook or other social media platforms to copy, distribute, alter, display,

host, sell, and/or promote the FOX NEWS Marks or the Fox News Works; and

       d.      Engaging in any other activity constituting unfair competition with Fox News, or

constituting an infringement of the FOX NEWS Marks or the Fox News Works, or constituting

any damage to Fox News’ name, reputation, or goodwill.

       8.      That those in active concert or participation with Defendant Doe and those with

notice of the injunction, including without limitation any Internet search engines, web hosting

and Internet service providers, domain name registrars, and domain name registries, cease

facilitating access to any or all domain names and websites or accounts through which Defendant

Doe engages in unlawful access to, use, reproduction, and distribution of the FOX NEWS Marks

or Fox News Works;

       9.      That the domain name registries and registrars for the Doe Domain Names and

websites, or their administrators, place the domain names on registryHold/serverHold or such

other status to render the names/sites non-resolving;




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       10.     That the Court order an award of costs and reasonable attorneys’ fees, pursuant to

15 U.S.C. § 1117(a), 17 U.S.C. § 505, or as otherwise permitted by law, incurred by Fox News

in connection with this action;

       11.     That Fox News be awarded pre-judgment interest and post-judgment interest on

the above damages awards; and

       12.     That the Court order an award to Fox News of such other and further relief as the

Court may deem just and proper.



Dated: February 12, 2020             By:     /s/ Attison L. Barnes, III
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